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APPENDIX B
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                   MEMORANDUM OF UNDERSTANDING
      FOR MOUNTAIN WEST CONFERENCE GRANT OF RIGHTS AGREEMENT

        THIS MEMORANDUM OF UNDERSTANDING (this “MOU”), effective on the
Effective Date defined below, is by and among the Mountain West Conference, a Colorado
nonprofit corporation (the “Conference”), and each of the following entities that sign this MOU:
United States Air Force Academy (“Air Force”), University of Hawai’i, Manoa (“Hawai’i”),
University of Nevada, Reno (“Nevada”), University of New Mexico (“New Mexico”), San José
State University (“San José State”), University of Nevada, Las Vegas (“UNLV”), and University
of Wyoming (“Wyoming”) (collectively, the “Member Institutions”).

       WHEREAS, because time is of the essence, the Conference and Member Institutions are
executing this MOU to memorialize the terms of their agreement;

       WHEREAS, by execution of this MOU, the Conference and the Member Institutions agree
to work cooperatively in the preparation of the formal Grant of Rights Agreement as set out below;

        The parties hereto express the following understanding:

        1. The “Term” of this Agreement shall begin on July 1, 2026 and shall continue until June
           30, 2032. The “Effective Date” means the date when this Agreement is signed by duly
           authorized representatives of the Conference, Air Force, UNLV, and at least four of the
           other five Member Institutions.

        2. The Conference presently owns the exclusive rights to all Conference television,
           national radio and digital broadcasts, and related intellectual property, through
           contractual agreements with various linear and digital networks, as set forth more
           explicitly in the Mountain West Handbook and in the applicable media contracts
           (“Media Rights”);

        3. The Conference and the Member Institutions agree that (a) the Conference and the
           Member Institutions will execute a Grant of Rights from the Member Institutions to the
           Conference for the Media Rights during the Term; (b) the Member Institutions will
           remain in the Conference and (c) the Conference will make certain payments to the
           Member Institutions as set forth in paragraph 5 below. The Conference and each of the
           Member Institutions acknowledge that the Conference will retain the Media Rights to
           be more fully addressed in the Grant of Rights Agreement.

        4. The Conference agrees to maintain the institutional Media Rights revenue distributions
           to the Member Institutions at no less than current levels, i.e. approximately $3.5 million
           to each regular Member Institution, during the Term. If necessary, the Conference will
           utilize a combination of revenue sources to maintain these distributions.

        5. The Member Institutions acknowledge that the Conference’s ability to make the
           incentive payments set forth in this paragraph 5 (“Incentive Payments”) is contingent
           upon the Conference having collected a sufficient portion of (a) the exit fees owed to
           the Conference by Colorado State University, Boise State University, California State
           University, Fresno, San Diego State University, and Utah State University (the “Exiting

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            Schools”) based on their decision to terminate membership in the Conference effective
            July 1, 2026 (the “Exit Fees”), and (b) the withdrawal fees owed to the Conference by
            the Pac-12 based on its decision to accept the Exiting Schools for membership in the
            Pac-12 effective July 1, 2026 (the “Withdrawal Fees”). The Conference will use
            commercially reasonable efforts to collect the Exit Fees and Withdrawal Fees. From
            the Exit Fees and Withdrawal Fees actually collected by the Conference (“Collected
            Fees”), the Conference will make the following Incentive Payments to each Member
            Institution that signs this MOU, with the first Incentive Payments being made as soon
            as practicable in compliance with the Bylaws of Mountain West Conference but no
            later than July 1, 2026 (“First Payment Date”):

               a. First $61 Million of Collected Fees. The Conference will distribute the first $61
                  million of Collected Fees (“First Tranche”) as follows:

                       i. 24.5% to Air Force

                      ii. 24.5% to UNLV

                      iii. 11.5% to Nevada

                      iv. 11.5% to New Mexico

                       v. 11.5% to San José State

                      vi. 11.5% to Wyoming

                     vii. 5% to Hawai’i

               b. Next $18 Million of Collected Fees. After paying the First Tranche, the next
                  $18 million of Collected Fees will be held in reserve and used by the
                  Conference to cover the expenses associated with recruiting new member
                  institutions into the Conference (“Recruiting Reserve”). The Conference will
                  use commercially reasonable efforts to minimize these recruiting expenses and
                  to distribute any unused portion of the Recruiting Reserve to the Member
                  Institutions according to the percentages used in the First Tranche.

               c. Next $21 Million of Collected Fees. After paying the First Tranche and funding
                  the Recruiting Reserve, the Conference will distribute the next $21 million of
                  Collected Fees (“Second Tranche”) according to the percentages used in the
                  First Tranche.

               d. Payment of Legal Fees and Expenses. After paying the First Tranche, funding
                  the Recruiting Reserve, and paying the Second Tranche, the Conference will
                  pay all legal fees and expenses incurred by the Conference.

               e. Payment of Remaining Collected Dollars. After paying the First Tranche,
                  funding the Recruiting Reserve, paying the Second Tranche, and paying its


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                   legal fees and expenses, the Conference will distribute the remaining Collected
                   Fees (“Third Tranche”) as follows:

                       i. 15.83% to Air Force

                      ii. 15.83% to UNLV

                      iii. 15.83% to Nevada

                      iv. 15.83% to New Mexico

                       v. 15.83% to San José State

                      vi. 15.83% to Wyoming

                     vii. 5% to Hawai’i

        6. If a Member Institution accepts an invitation to join the ACC, Big 10, Big 12, or SEC,
           such Member Institution shall be released from its obligations under, and shall waive
           its right to enforce, this MOU and the Grant of Rights Agreement.

        7. During the Term of this MOU and the Grant of Rights Agreement, the Conference’s
           basketball championships shall be played in Las Vegas, Nevada.

        8. The Conference will move its offices to Las Vegas, Nevada as soon as practicable after
           the expiration of its existing office lease in Colorado Springs, Colorado, and such
           Conference offices shall remain in Las Vegas, Nevada at least through the end of the
           Term of this MOU and the Grant of Rights Agreement.

        9. In the event the Exiting Schools do not actually exit from the Conference, this MOU
           and the associated Grant of Rights Agreement shall remain fully enforceable.

        10. This MOU shall not be binding upon nor enforceable by any Member Institution that
            refuses to sign this MOU.

        11. This MOU may not be modified or amended other than by an agreement in writing
            signed by duly authorized representatives of the Conference and three-fourths (3/4) of
            the Member Institutions that have signed and are bound by this Agreement.

        12. This MOU may be executed in counterparts exchanged by electronic means (such as
            DocuSign or PDF signature pages exchanged via email), each of which shall be deemed
            an original.

        13. The Conference and Member Institutions acknowledge that while the Grant of Rights
            Agreement may take a longer period of time for vetting and execution, time is of the
            essence with this MOU.




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      IN WITNESS WHEREOF, each of the undersigned has executed this Memorandum of
Understanding effective as of the Effective Date.



___________________________
Gloria Nevarez
Commissioner
Mountain West Conference



 ___________________________                 ___________________________
 Lt. General Tony Bauernfeind                Cynthia Teniente-Matson
 Superintendent                              President
 United States Air Force Academy             San José State University


 ___________________________                 ___________________________
 David Lassner                               Keith E. Whitfield
 President                                   President
 University of Hawai’i, Manoa                University of Nevada, Las Vegas
 (men’s football only)


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 Brian Sandoval                              Edward Seidel
 President                                   President
 University of Nevada, Reno                  University Wyoming


 ___________________________
 Garnett S. Stokes
 President
 University of New Mexico




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